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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                                  24 - CR - 165
                                               :
UNITED STATES OF AMERICA                       :      Case No.: 24-MJ-27 (MAU)
                                               :
       v.                                      :      40 U.S.C. § 5104(e)(2)(D)
                                               :      40 U.S.C. § 5104(e)(2)(G)
GIORGI MAMULASHVILI,                           :
                                               :
       Defendant.                              :
                                               :

                                STATEMENT OF OFFENSE

       Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, Giorgi Mamulashvili,

with the concurrence of the defendant’s attorney, agree and stipulate to the below factual basis for

the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that

the United States could prove the below facts beyond a reasonable doubt:

                        The Attack at the U.S. Capitol on January 6, 2021

       1.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

       2.       On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public. The grounds around the Capitol were posted and cordoned off, and the entire area as well

as the Capitol building itself were restricted as that term is used in Title 18, United States Code,

Section 1752 due to the fact that the Vice President and the immediate family of the Vice President,

among others, would be visiting the Capitol complex that day.



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       3.       On January 6, 2021, a joint session of the United States Congress convened at the

Capitol. During the joint session, elected members of the United States House of Representatives

and the United States Senate were meeting in separate chambers of the Capitol to certify the vote

count of the Electoral College of the 2020 Presidential Election, which had taken place on Tuesday,

November 3, 2020. The joint session began at approximately 1:00 PM. Shortly thereafter, by

approximately 1:30 PM, the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint session,

and then in the Senate chamber.

       4.       As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

       5.       At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. Officers with the D.C. Metropolitan Police

Department were called to assist officers of the USCP who were then engaged in the performance

of their official duties. The crowd was not lawfully authorized to enter or remain in the building

and, prior to entering the building, no members of the crowd submitted to security screenings or

weapons checks as required by USCP officers or other authorized security officials.

       6.       At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after



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2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $2.9 million dollars for repairs.

       7.       Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.

               The Defendant’s Participation in the January 6, 2021, Capitol Riot

       8.       On January 6, 2021, MAMULASHVILI entered the U.S. Capitol Building and

participated in the riot. At around 2:24 p.m., when MAMULASHVILI was outside the U.S. Capitol

Building, he sent a text message to an associate, writing, “Trying to enter” and, “They are shooting

paper spry [sic].”

       9.       Footage recorded on that day by the Capitol Building surveillance system, police

body-worn cameras, and other third parties show MAMULASHVILI’s participation. At around

2:43 p.m., MAMULASHVILI entered the U.S. Capitol Building through the East Rotunda doors



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with a group of rioters who were pushing past police officers. MAMULASHVILI pumped his fist

in the air as he entered.

        10.      Moments later, MAMULASHVILI entered the Rotunda, where he held up his

phone and recorded himself inside the building. He walked with other rioters toward the Senate

Chamber and traveled as far as the hallway outside the Old Senate Chamber, where a line of police

officers halted the rioters’ advance. Other rioters pushed against the police line while officers

prevented them from advancing toward the Senate Chamber.

        11.      MAMULASHVILI retreated from the area near the Old Senate Chamber, and, at

around 3:03 p.m., he returned to the Rotunda. He remained in the Rotunda until police officers

began moving rioters toward the East Rotunda doors. At around 3:31 p.m., MAMULASHVILI

exited the building through the East Rotunda doors.

                                       Elements of the Offense

        12.      The parties agree that Disorderly and Disruptive Conduct in a Capitol Building or

Grounds, in violation of 40 U.S.C. § 5104(e)(2)(D), requires the following elements:

              a. First, the defendant engaged in disorderly or disruptive conduct in any of the United

                 States Capitol Buildings.

              b. Second, the defendant did so with the intent to impede, disrupt, or disturb the

                 orderly conduct of a session of Congress or either House of Congress.

              c. Third, the defendant acted willfully and knowingly.

        13.      The parties agree that Parading, Demonstrating, or Picketing in a Capitol Building,

in violation of 40 U.S.C. § 5104(e)(2)(G), requires the following elements:

              a. First, the defendant paraded, demonstrated, or picketed in any of the United States

                 Capitol Buildings.



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             b. Second, the defendant acted willfully and knowingly.


                                 Defendant’s Acknowledgments

       14.      The defendant knowingly and voluntarily admits to all the elements as set forth

above. Specifically, the defendant admits that he engaged in disorderly conduct while in the U.S.

Capitol Building, with the intent to disrupt the orderly conduct of a session of Congress, and that

he did so willfully and knowingly. Defendant further admits that he willfully and knowingly

demonstrated in the U.S. Capitol Building.



                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 481052


                                              By:
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                         DEFENDANT’S ACKNOWLEDGMENT


       I, Giorgi Mamulashvili, have read this Statement of the Offense and have discussed it with
my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.

        04 / 26 / 2024
Date:
                                      Giorgi Mamulashvili
                                      Defendant


                          ATTORNEY’S ACKNOWLEDGMENT


       I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client’s desire to adopt this Statement of the Offense as true and accurate.


        04 / 26 / 2024
Date:
                                      Jay P. Mykytiuk
                                      Attorney for Defendant




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